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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

JERMAINE ALEXANDER RAMSEY                                                                  PLAINTIFF

v.                                                                                  No. 4:19CV9-JMV

TIMOTHY MORRIS
LEE SIMON
MRS. STURDEVANT
WILLIE KNIGHTEN
RICHARD PENNINGTON
MARKISHA FIPPS
MARSHALL TURNER                                                                        DEFENDANTS


                      ORDER DENYING PLAINTIFF’S MOTION [19] TO
                      VACATE REFERRAL TO A MAGISTRATE JUDGE

         This matter comes before the court on the motion [19] by the plaintiff to vacate his

authorization for a Magistrate Judge to preside over this case. As basis for his motion, the plaintiff

argues that he “has never been issued or received any ‘Order of Reference,’ in regards to the above

referral and/or consent to a Magistrate Judge,” and, thus, Magistrate Judge jurisdiction is inappropriate

in this case. However, as shown by the exhibit attached to this order, Mr. Ramsey consented [6] to

Magistrate Judge jurisdiction on January 27, 2019, and the Clerk’s Office docketed the consent

document on February 5, 2019. See attached Exhibit. As such, this argument is without substantive

merit.

         The plaintiff also argues that the court cannot “conduct[] its own investigation” when

reviewing his complaint. Doc. 19 at 1. However, as the court discussed in its order dismissing this

case as vexatious, the court may police its docket to ferret out frivolous or vexatious cases which

needlessly consume the valuable time of the court and litigants. The court merely reviewed this case

and five others and discovered a pattern of abuse spanning those six cases. The court afforded the
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plaintiff the opportunity to show that his filings were not abusive, giving him the chance to

substantiate the apparently vexatiously-filed claims. He did not do so. For these reasons, the

plaintiff’s motion [19] to vacate his authorization for a Magistrate Judge to preside over this case is

DENIED.

        SO ORDERED, this, the 4th day of October, 2021.


                                                         /s/ Jane M. Virden
                                                         UNITED STATES MAGISTRATE JUDGE
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